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 6                            IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8    Grady Hillis, et al.,                     )   No. CV-21-08194-PCT-SPL
                                                )
 9                                              )
                        Plaintiffs,             )   ORDER
10    vs.                                       )
                                                )
11                                              )
      National Association of Realtors, et al., )
12                                              )
                        Defendants.             )
13                                              )
                                                )
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15          Before the Court is Defendant Arizona Association of Realtors’ Motion for
16   Extension (Doc. 52), in which they seek an extension of the deadline to file a Motion for
17   Attorneys’ Fees. Although Defendant’s Motion to Dismiss (Doc. 26) was granted, Plaintiff
18   has been provided the opportunity to file a Second Amended Complaint (Doc. 51).
19   Accordingly, no final judgment has been entered, this case remains open, and the motion
20   is premature.
21          IT IS THEREFORE ORDERED that Defendant Arizona Association of Realtors’
22   Motion for Extension (Doc. 52) is denied as premature.
23          Dated this 8th day of July, 2022.
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25                                                   Honorable Steven P. Logan
                                                     United States District Judge
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